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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
       v.                                       §
                                                §   CRIMINAL NO. 7:24-CR-1011-2
DALINDA MICHELLE MEDRANO,                       §
Defendant                                       §

                                     PLEA AGREEMENT

       The United States of America, by and through Alamdar S. Hamdani , United States

Attorney for the Southern District of Texas, and Lance Watt, Assistant United States Attorney,

and the defendant, DALINDA MICHELLE MEDRANO (" Defendant"), and Defendant's counsel ,

pursuant to Rule I l(c)(l)(B) of the Federal Rules of Criminal Procedure, state that they have

entered into an agreement, the terms and conditions of which are as follows :

                                    Defendant's Agreement

       I. Defendant agrees to plead guilty to Count Five of the superseding indictment. Count

Five charges Defendant with Making a False Statement to a Licensed Firearms Dealer, in

violation of Title 18 United States Code, Sections 922(a)(6) and 924(a)(2). Defendant, by

entering this plea, agrees that he/she is waiving any right to have the facts that the law makes

essential to the punishment either charged in the indictment/information, or proved to a jury or

proven beyond a reasonable doubt.

                                       Punishment Range

       2. The statutory maximum penalty for each violation of Title 18 United States Code,
                                                                                                     (
                                                                                                     \




than $250,000.
                                                                        -
Sections 922(a)(6) and 924(a)(2), is imprisonment of not more than IO years and a fine of not more

                   Additionally, Defendant may receive a term of supervised release after

imprisonment of not more than 3 years. Defendant acknowledges and understands that if
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Defendant should violate the conditions of any period of supervised release which may be imposed

as part of Defendant's sentence, then Defendant may be imprisoned for not more than 3 years,

without credit for time already served on the term of supervised release prior to such violation.

Defendant understands that he/she cannot have the imposition or execution of the sentence

suspended, nor is he/she eligible for parole.

                                 Mandatory Special Assessment

       3. Pursuant to Title 18, United States Code, Section 3013(a)(2)(A), immediately after

sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment

in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by

cashier's check or money order, payable to the Clerk of the United States District Court, c/o District

Clerk's Office, P.O. Box 6 IO I 0, Houston, Texas 77208, Attention: Finance.

                                   Immigration Consequences

       4.   Defendant recognizes that pleading guilty may have consequences with respect to

Defendant's immigration status. Defendant understands that if Defendant is not a citizen of the

United States, by pleading guilty they may be removed from the United States, denied citizenship,

and denied admission to the United States in the future. Defendant understands that if Defendant

is a naturalized United States citizen, pleading guilty may result in immigration consequences,

such as denaturalization and potential deportation or removal from the United States. Defendant's

attorney has advised Defendant of the potential immigration consequences resulting from

Defendant' s plea of guilty, and Defendant affirms that Defendant wants to plead guilty regardless

of any immigration consequences that may result from the guilty plea and conviction.




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                                           Cooperation

       5. The parties understand this agreement carries the potential for a motion for departure



               -
under Section 5K 1.1 of the Sentencing Guidelines. Defendant understands and agrees that whether

such a motion is filed will be determined so lely by the United States through the United States

Attorney for the Southern District of Texas. Should Defendant's cooperation, in the sole judgment

and discretion of the United States, amount to " substantial assistance," the United States reserves

the sole right to file a motion for departure pursuant to Section 5K 1.1 of the United States

Sentencing Guidelines. Defendant further agrees to persist in that plea through sentencing, fully

cooperate with the United States, and not oppose the forfeiture of assets contemplated in paragraph

21 of this agreement. Defendant understands and agrees that the United States will request that

sentencing be deferred until that cooperation is complete.

        6. Defendant understands and agrees that "fu lly cooperate," as that term is used herein,

includes providing all information re lating to any criminal activity known to Defendant. Defendant

understands that such information includes both state and federal offenses arising therefrom. In

that regard:

        (a)    Defendant agrees that this plea agreement binds only the United States
        Attorney for the Southern District of Texas and Defendant; it does not bind any
        other United States Attorney or any other unit of the Department of Justice;

        (b)     Defendant agrees to testify truthfully as a witness before a grand jury or in
        any other judicial or administrative proceeding when called upon to do so by the
        United States. Defendant further agrees to waive his/her Fifth Amendment
        privilege against self-incrimination for the purpose of this agreement;

        (c)    Defendant agrees to voluntarily attend any interviews and conferences as
        the United States may request;

        (d)     Defendant agrees to provide truthful, complete and accurate information
        and testimony and understands any fa lse statements made by the defendant to the
        Grand Jury or at any court proceeding (crimina l or civil), or to a government agent

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       or attorney, can and will be prosecuted under the appropriate perJury, false
       statement, or obstruction statutes;

       (e)    Defendant agrees to provide to the United States all documents in his/her
       possession or under his/her control relating to all areas of inquiry and investigation;
       and

       (t)     Should the recommended departure, if any, not meet Defendant's
       expectations, the Defendant understands that he/she remains bound by the terms of
       this agreement and cannot, for that reason alone, withdraw his/her plea.

               Waiver of Appeal, Collateral Review, and Statute of Limitations

       7. Defendant is aware that Title 28, United States Code, Section 1291 , and Title I 8,

United States Code, Section 3742, afford a defendant the right to appeal the conviction and

sentence imposed. Defendant is also aware that Title 28, United States Code, Section 2255 , affords

the right to contest or "collaterally attack" a conviction or sentence after the judgment of conviction

and sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or

"collaterally attack" the conviction and sentence, except that Defendant does not waive the right

to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on

collateral review in a motion under Title 28, United States Code, Section 2255. In the event

Defendant files a notice of appeal following the imposition of the sentence or later collaterally

attacks his conviction or sentence, the United States will assert its rights under this agreement and

seek specific performance of these waivers.

        8. Defendant also agrees that should the conviction following the defendant's plea of

guilty pursuant to this Agreement be vacated for any reason, then any prosecution that is not time-

barred by the applicable statute of limitations on the date of the signing of this agreement

(including any counts that the United States has agreed to dismiss at sentencing pursuant to this

Agreement) may be commenced or reinstated against the defendant, notwithstanding the


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expiration of the statute of limitations between the s1gnmg of this Agreement and the

commencement or reinstatement of such prosecution. It is the intent of this Agreement to waive

all defenses based on the statute of limitations with respect to any prosecution that is not time-

barred on the date that this Agreement is signed.

       9.    In agreeing to these waivers, Defendant is aware that a sentence has not yet been

determined by the Court. Defendant is also aware that any estimate of the possible sentencing

range under the sentencing guidelines that Defendant may have received from his/her counsel , the

United States or the Probation Office, is a prediction and not a promise, did not induce his/her

guilty plea, and is not binding on the United States, the Probation Office or the Court. The United

States does not make any promise or representation concerning what sentence the defendant will

receive. Defendant further understands and agrees that the United States Sentencing Guidelines

are "effectively advisory" to the Court.    See United States v. Booker, 543 U.S. 220 (2005).

Accordingly, Defendant understands that, although the Court must consult the Sentencing

Guidelines and must take them into account when sentencing Defendant, the Court is not bound

to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range .

       10.    Defendant understands and agrees that each and al I waivers contained in the

Agreement are made in exchange for the concessions made by the United States in this plea

agreement.

                                The United States' Agreements

       11. The United States agrees to each of the following :

       (a)     If Defendant pleads guilty to the above-numbered count(s) of the
       superseding indictment and persists in that plea through sentencing, and if the Court
       accepts this plea agreement, the United States will move to dismiss any remaining
       counts of the superseding indictment at the time of sentencing. The defendant
       agrees that with respect to any and all dismissed charges he/she is not a ' prevailing

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       party within the meaning of the 'Hyde Amendment,' Section 617, P.L. I 05-119
       (Nov . 26, 1997), and will not file any claim under that law;

       (b)     If the Court determines that Defendant qualifies for an adjustment under
       U.S.S.G. § 3E I. I (a), and the offense level prior to operation of§ 3E I. I (a) is 16 or
       greater, the United States will move under § 3E I. I (b) for an additional one-level
       reduction because Defendant timely notified authorities of his or her intent to plead
       guilty, thereby permitting the United States to avoid preparing for trial and
       permitting the United States and the Court to allocate their resources more
       efficiently.


                     Agreement Binding - Southern District of Texas Only

        12. The United States Attorney ' s Office for the Southern District of Texas agrees that it

will not further criminally prosecute Defendant in the Southern District of Texas for the specific

conduct described in the superseding indictment. This plea agreement binds only the United States

Attorney' s Office for the Southern District of Texas and Defendant. It does not bind any other

United States Attorney's Office. The United States Attorney ' s Office for the Southern District of

Texas will bring this plea agreement and the full extent of Defendant' s cooperation to the attention

of other prosecuting offices, if requested.

                              United States' Non-Waiver of Appeal

        13 . The United States reserves the right to carry out its responsibilities under guidelines

sentencing. Specifically, the United States reserves the right:

       (a)     to bring the facts of this case, including evidence in the files of the United
       States Attorney's Office for the Southern District of Texas or the files of any
       investigative agency, to the attention of the Probation Office in connection with
       that office's preparation of a presentence report;

       (b)     to set forth or dispute sentencing factors or facts material to sentencing;

       (c)    to seek resolution of such factors or facts in conference with Defendant's
       counsel and the Probation Office;



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       (d)    to file a pleading relating to these issues, in accordance with section 6A 1.2
       of the United States Sentencing Guidelines and Title 18, United States Code,
       Section 3553(a); and

       (e)     to appeal the sentence imposed or the manner in which it was determined.

                                     Sentence Determination

       14. Defendant is aware that the sentence will be imposed after consideration of the United

States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the

provisions of Title 18, United States Code, Section 3553(a). Defendant nonetheless acknowledges

and agrees that the Court has authority to impose any sentence up to and including the statutory

maximum set for the offense(s) to which Defendant pleads guilty, and that the sentence to be

imposed is within the sole discretion of the sentencing judge after the Court has consulted the

applicable Sentencing Guidelines. Defendant understands and agrees that the parties ' positions

regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence

imposed is within the discretion of the sentencing judge. If the Court should impose any sentence

up to the maximum established by statute, or should the Court order any or all of the sentences

imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and

will remain bound to fulfill all of the obligations under this plea agreement.

                                          Rights at Trial

       15. Defendant understands that by entering into this agreement, he/she surrenders certain

rights as provided in this plea agreement. Defendant understands that the rights of a defendant

include the following:

       (a)    If Defendant persisted in a plea ofnot guilty to the charges, defendant would
       have the right to a speedy jury trial with the assistance of counsel. The trial may
       be conducted by a judge sitting without a jury if Defendant, the United States, and
       the court all agree.


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       (b)    At a trial, the United States would be required to present witnesses and other
       evidence against Defendant. Defendant would have the opportunity to confront
       those witnesses and his/her attorney would be allowed to cross-examine them. In
       tum, Defendant could, but would not be required to, present witnesses and other
       evidence on his/her own behalf. If the witnesses for Defendant would not appear
       voluntarily, he/she could require their attendance through the subpoena power of
       the court; and

       (c)     At a trial, Defendant could rely on a privilege against self-incrimination and
       decline to testify, and no inference of guilt could be drawn from such refusal to
       testify. However, if Defendant desired to do so, he/she could testify on his/her
       own behalf.

                                  Factual Basis for Guilty Plea

       16.   Defendant is pleading guilty because Defendant is m fact guilty of the charges

contained in Count Five of the superseding indictment. If this case were to proceed to trial , the

United States could prove each element of the offense beyond a reasonable doubt. The following

facts, among others would be offered to establish Defendant's guilt:

       In October 2023 , the A TF initiated an investigation into straw purchasing firearms and

firearms trafficking after receiving information that an unknown person was attempting to

purchase firearms from a Federal Firearms Licensee (FFL) in an unlawful manner. During the

investigation, ATF conducted multiple undercover purchases of firearms and was able to identify

several individuals who were obtaining firearms in the Corpus Christi area and transferring those

firearms to an individual in McAllen, Texas who would arrange for the firearms to be illegally

smuggled into Mexico.

       One of the individuals identified was Jordan Osborne, the son of Defendant Dalinda

MEDRANO. In April 2024, an ATF UC contacted Osborne through Texas Gun Trader, which is

a website that facilitates the private sale of firearms that do not require the use of an ATF Form

4473 , regarding a belt fed AR] 5 firearm listed for sale. Agents determined that the account was


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registered in January 2020 to MEDRANO and included MEDRANO ' s address and phone

number. During the examination of cellphone communications, between Osborne and other co-

conspirators, agents were able identify several dates and firearms being obtained for and

transferred to individuals who would illegally smuggle the firearms into Mexico.

       On April 14, 2024, MEDRANO acquired a Glock pistol from a Federal Firearm Licensee

(FFL) in Corpus Christi , Texas and again on April 15, 2024, MEDRANO acquired a second

Glock pistol from a FFL. In addition, ATF agents confirmed that on April 27, 2024, MEDRANO

acquired a FNH, Model Searl 7s, 7.62X51 caliber rifle from Modern Pawn and Jewelry, a FFL.

During the sale, MEDRANO complete an ATF Form 4473 in which she falsely represented that

she was the actual buyer of the firearm , when in fact MEDRANO knew, she was not the actual

buyer of the firearm.

       On June 13 , 2024, A TF , HSI, and the Corpus Christi Police Department executed

multiple federal search warrants and interviewed MEDRANO. During the interview,           ~   D_
MEDRANO admitted to purchasing firearm at the request of her son, Jordan Osborne. ~

           17. Defendant confesses and judicially admits that the factual summary

 accurately represents his involvement in the criminal activity to which he is pleading

 guilty.

                                   Breach of Plea Agreement

        18. If Defendant should fail in any way to fulfill completely all of the obligations under

this plea agreement, the United States will be released from its obligations under the plea

agreement, and Defendant's plea and sentence will stand. If at any time Defendant retains,

conceals, or disposes of assets in violation of this plea agreement, including required financial

information, or if Defendant knowingly withholds evidence or is otherwise not completely truthful

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with the United States, then the United States may move the Court to set aside the guilty plea and

reinstate prosecution. Any information and documents that have been disclosed by Defendant,

whether prior to or subsequent to this plea agreement, and all leads derived therefrom, will be used

against defendant in any prosecution.

                       Monetary Penalties, Assets and Financial Disclosures

        19.      Defendant understands and agrees that monetary penalties will be subject to

immediate enforcement as provided in 18 U.S.C. § 3613 and that monetary penalties will be

submitted to the Treasury Offset Program so that payments to the Defendant may be applied to

federal debts.

        20. Defendant understands that restitution, forfeiture, and fines are separate components

of sentencing and are separate obligations. Defendant agrees to take all steps necessary to pass

clear title to forfeitable assets to the United States and to assist fully in the collection of restitution

and fines. Subject to the provisions of paragraph 7 above, Defendant waives the right to challenge

in any manner, including by direct appeal or in a collateral proceeding, any restitution order, any

forfeiture orders, and any fines.

                                               Forfeiture

        21. As part of this plea agreement, Defendant agrees to the following:

        (a) to forfeit, via either an administrative or judicial proceeding, all assets listed in the
        charging document (including any Supplemental Notice of Forfeiture), and to forfeit or
        abandon any assets seized during this investigation or a related investigation :

        (b) to withdraw any claims and petitions for such listed or seized assets, whether in this
        proceeding or another proceeding, and to waive notice of administrative proceedings
        (including forfeiture, destruction, and abandonment for seized property) ;

        (c) that one or more of the conditions set forth in 21 U.S.C. § 853(p) exists, so that a
        forfeiture money judgment may be immediately satisfied via forfeiture of substitute
        property; and

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       (e) to the order of forfeiture becoming final as to Defendant immediately following this
       guilty plea or immediately following entry of the forfeiture order, whichever applies.

                                       Financial Statement

       22. Defendant agrees to truthfully complete under penalty of perjury, within thirty days

of the execution of this Plea Agreement, a financial statement on a form provided by the United

States Attorney ' s Office and to update the statement within seven days of any material change.

Defendant also agrees to make full disclosure to the United States Probation Office of all current

and anticipated assets in which Defendant has an interest both before sentencing and again before

termination of supervised release or probation, with such disclosures to be shared with the United

States Attorney ' s Office.

        23. Defendant further agrees not to dispose or transfer any assets without the prior written

permission of the United States and to authorize the release of all financial information requested

by the United States, including, but not limited to, credit histories and tax returns. Defendant agrees

to discuss and answer any questions by the United States relating to Defendant' s financial

disclosure, including in a deposition or informal debtor exam, whether before or after sentencing.

                                       Complete Agreement

        24. This written plea agreement, consisting of 13 pages, including the attached addendum

of Defendant and his/her attorney, constitutes the complete plea agreement between the United

States, Defendant, and Defendant's counsel. Other than any written proffer agreement(s) that may

have been entered into between the United States and Defendant, this agreement supersedes any

prior understandings, promises, agreements, or conditions between the United States and

Defendant. No additional understandings, promises, agreements, or conditions have been entered

into other than those set forth in this agreement, and none will be entered into unless in writing

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and signed by all parties. Defendant acknowledges that no threats have been made against him/her

and that he/she is pleading guilty freely and voluntarily because he/she is guilty.



       25. Any modification of this plea agreement must be in writing and signed by all parties.




APPROVED:
     Alamdar S. Hamdani


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By:

       Assistant United States Attorney
       Southern District of Texas




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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
     v.                                         §     CRIMINAL NO. 7:24-CR-1011-2
DALINDA MICHELLE MEDRANO,                       §
         Defendant                              §

                            PLEA AGREEMENT -- ADDENDUM

        I have fully explained to Defendant his/her rights with respect to the pending superseding
indictment/information. I have reviewed the provisions of the United States Sentencing
Commission's Guidelines Manual and Policy Statements and I have fully and carefully explained
to Defendant the provisions of those Guidelines which may apply in this case. I have also explained
to Defendant that the Sentencing Guidelines are only advisory and the court may sentence
Defendant up to the maximum allowed by statute per count of conviction. 1 have also explained to
Defendant that sentences on multiple counts may be imposed to run consecutively to one another
or to any other sentence. Further, I have carefully reviewed every part of this plea agreement with
Defendant. To my knowledge, Defendant's decision to enter into this agreement is an informed
and voluntary one.



A~                    nt                              Date    (      l

        I have consulted with my attorney and fully understand all my rights with respect to the
superseding indictment/information pending against me. My attorney has fully explained, and I
understand, all my rights with respect to the provisions of the United States Sentencing
Commission ' s Guidelines Manual which may apply in my case. I have read and carefully reviewed
every part of this plea agreement with my attorney.   I understand this agreement and I voluntarily
agree to its terms.



~_£Pdl,                                               Date
                                                13
